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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO. 19-CR-80181

   UNITED STATES OF AMERICA,

   v.

   MINAL KUMAR PATEL

         Defendant,
   ___________________________/

   DEFENDANT’S OBJECTIONS TO THE PRESENTENCE INVESTIGATION REPORT

          Pursuant to Fed. R. Crim. P. Rule 32(f)(2) and Southern District of Florida Local

   Administrative Order 95-02, and with leave of Court to file objections to the PSIR on August 11,

   2023 (DE 524), Defendant Minal Kumar Patel respectfully makes the following objections and

   requests for clarification to his Presentence Investigation Report, and in support hereof states the

   following:

   Identifying Data

          Race: Asian

   The Offense Conduct

          General Statement: Mr. Patel is mindful of the jury’s verdict in this case and has a deep

   respect for the Jury and our Court system. However, Mr. Patel maintains that he was deprived of

   effective assistance of counsel due to his trial attorneys’ multiple personal and professional

   conflicts, which prevented him from presenting his good faith and advice of counsel defenses to

   the jury. Accordingly, though Mr. Patel cannot contest many of the averments contained within

   the PSIR based on the record created at trial, it is respectfully submitted that a failure to object to

   any particular paragraphs of the PSIR should not be deemed an admission.
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   Genetic Tests

          Paragraphs 17 & 18: Mr. Patel respectfully requests that these paragraphs be clarified as

   follows:

          Genetic testing can be performed for several reasons; including: 1) as a diagnostic tool, and

   2) as a predictive tool for specific disease processes or conditions in those with a familial history.

          Diagnostic/Confirmatory Testing in Symptomatic Individuals: This testing is done to rule

   out, identify, or confirm a suspected genetic disorder in an affected individual. Diagnostic testing

   may be performed to help determine the course of the disease or indicated treatment.

          Predictive Testing in Pre-Symptomatic Individuals: Predictive testing is used to determine

   whether individuals who have a family history of a disease but no current symptoms have the gene

   or mutation associated with the disease. Predictive genetic testing includes pre-symptomatic

   testing and pre-dispositional testing. When a specific mutation is identified through pre-

   symptomatic testing, the patient will eventually develop symptoms of a disease (e.g., testing for

   Huntington's disease before symptoms are present). In pre-dispositional testing, eventual

   development of symptoms is likely but not certain when the gene mutation is present (e.g., breast

   cancer).

          Mr. Patel further requests that the following information be added: At additional expense

   to LabSolutions, a database of all genetic test results was being created by LabSolutions in

   collaboration with Medneon such that as new genetic risk markers were identified by doctors and

   scientists, LabSolutions would notify patients of their additional genetic risk profiles. This

   database was to be maintained by LabSolutions at no extra cost to patients or insurers, though it

   cost approximately $200 per patient to run. It was Mr. Patel’s hope that his extensive database

   would help to isolate additional problematic genetic markers and advance patient care and

   predictive screening.



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          Additionally, LabSolutions contracted with MolDX at additional cost to ensure that it

   employed proper lab equipment and processes, had employed qualified laboratory personnel and

   scientists, ran proper panels and used the appropriate billing codes.

          Paragraphs 22 & 57:         Mr. Patel objects to several allegations contained in these

   paragraphs.

          First, Mr. Patel objects to the allegation that he oversaw LabSolutions or its employees.

   Evidence establishes that, while Mr. Patel owned LabSolutions, first Omar Aleem and then Nick

   Saliba oversaw the employees, contractors, and daily operations of Lab Solutions.

          Further, Mr. Patel objects to the allegation that he was the “architect of the scheme.” Mr.

   Patel added genetic testing to LabSolutions’ other lab services at the suggestion of the Aleem

   brothers, who sought to partner in those operations. The Aleems set up and managed the testing

   at issue herein. The two Aleem brothers who were lawyers (Yussuf and Tareek ) provided legal

   advice regarding the set up and operation of these lab services, including: LabSolutions’

   compliance policies and enforcement. The Aleems drafted and approved the contracts and

   installed their brother Omar as the manager within LabSolutions to oversee the entire operation.

   Later, Nick Saliba took over management of LabSolutions and continued to oversee compliance,

   employees, contractors, and day-to-day operations of the lab.

          Paragraph 25: Mr. Patel clarifies that LabSolutions entered into marketing agreements

   with marketing companies that employed Sporn and other marketers. Mr. Patel objects to the

   allegation that Sporn sold beneficiary information, tests, and doctor’s orders to Patel. By way of

   clarification, Sporn referred laboratory orders to LabSolutions and he was compensated by

   Marketing companies with whom LabSolutions contracted for marketing services.

          Paragraph 26: Mr. Patel clarifies that Shawn Griner worked for a marketing company

   with whom LabSolutions had contracted. LabSolutions paid the marketing company in accordance

   with that contract. LabSolutions never paid Mr. Griner.
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   Manner and Means:

          Paragraphs 32 – 34: Mr. Patel objects to the conclusion that he paid kickbacks and bribes

   to his alleged co-conspirators. Mr. Patel maintains that LabSolutions paid contractors per

   contracts negotiated and reviewed by lawyers, and that he believed that the referred Lab Orders

   were medically necessary, appropriate and properly signed by physicians.

          Paragraph 37: Mr. Patel objects to the allegation that he personally made the referenced

   wire transfers. Such transfers were executed by employees of LabSolutions at the direction of Nick

   Saliba and pursuant to the compensation schedules outlined in the respective parties’ contracts.

          Paragraphs 45-47: Mr. Patel denies that he disregarded the medical necessity of Lab

   Orders and denies knowledge of the impropriety of the Telemedicine Services that were provided.

          Paragraph 54: Mr. Patel respectfully requests that the PSIR note that the Government

   alleged that Mr. Patel received $21 million dollars from the conduct of which he was convicted.

   See Exhibit A, Government Ex. 126. However, in fact, Mr. Patel received far less than this amount

   from the alleged fraud conduct. The $21 million dollars alleged apparently includes all money

   received by Patel from LabSolutions as wages and profits, including earnings from its other

   legitimate laboratory services (standard blood tests, toxicology testing, women’s health tests, and

   genetic testing conducted by brick-and-mortar practices outside of the scope of the conspiracy

   alleged).

   Role Assessment:

          Paragraph 57: Mr. Patel reiterates the information provided above regarding his role

   assessment.

   Offense Level Computation:

          Paragraph 71: Mr. Patel objects to the intended loss amount attributed to him of

   $463,889,078. First, intended loss no longer is a valid measure of loss in this Circuit, only actual

   loss is, as “loss” is not genuinely ambiguous thereby precluding deference to commentary. United
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   States v. Dupree, 57 F.4th 1269, 1274-75 (11th Cir. 2023) (en banc) (citing Kisor v. Wilkie, 139 S.

   Ct. 2400, 2414-15, 204 L. Ed. 2d 841 (2019)); United States v. Alford, No. 3:21cr052, 2022 U.S.

   Dist. LEXIS 149494, *10-11, 2022 WL 3577373 (N.D. Fla. Aug. 20, 2022) (declining to utilize

   intended loss because it “does not ‘fall within the bounds of reasonable interpretation’ for the term

   ‘loss’ in § 2B1.1(b)(1)”). The Third Circuit has similarly concluded that actual loss, and not

   intended loss, is the only driver of loss under USSG § 2B1.1. United States v. Banks, 55 F. 4th 256,

   255-258 (3d. Cir. 2022).

          Second, as noted in Paragraph 29, “[i]t was the purpose of the conspiracy” to pay bribes

   and kickbacks “in exchange for the referral of Medicare beneficiaries[] so that LabSolutions could

   bill Medicare for genetic tests” without regard for need or medical necessity. (Emphasis added).

   This is confirmed by the Government’s press release regarding Mr. Patel’s conviction: “Patel

   conspired with patient brokers, telemedicine companies, and call centers to target Medicare

   beneficiaries with telemarketing calls falsely stating that Medicare covered expensive cancer

   genetic tests.” See Exhibit B. (Dept. of Justice, Press Release, Lab Owner Convicted in $463

   Million Genetic Testing Scheme to Defraud Medicare, Dec. 14, 2022 (emphasis added),

   https://www.justice.gov/opa/pr/lab-owner-convicted-463-million-genetic-testing-scheme-

   defraud-medicare). The amount Medicare paid for CGx testing referred through patient brokers,

   call centers and Telemedicine doctors, therefore, is the limit of any loss amount attributable to Mr.

   Patel as it is the outer-bounds of what he may be held accountable for. See USSG §1B1.3,

   comment. (n.3(B)) (accountability under jointly undertaken criminal activity limited to “scope of

   the criminal activity the particular defendant agreed to jointly undertake (i.e., the scope of the

   specific conduct and objectives embraced by the defendant’s agreement)”) (emphasis added). Per

   Paragraph 57, Medicare and Medicare Advantage Plans paid no more than $128,163,945 for CGx

   testing. Accordingly, as the actual loss attributable to Mr. Patel is no greater than $150 million,

   the correct loss enhancement can be no greater than 24.
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          Finally, Mr. Patel objects to the enhancement for loss amount under 2B1.1 as the

   government has not met its burden, by a preponderance of the evidence, as to the amount of loss

   exclusively related to the referring physicians affiliated with the telemedicine companies and

   kickbacks. There were many physicians who referred to LabSolutions for genetic testing, who

   had established treatment relationships with patients and for whom there is no evidence that

   kickbacks were paid. These referrals do not fit with the government’s theory of conspiracy, of

   which Mr. Patel was convicted, and should not be included in the loss calculation.

          Mr. Patel also objects to the two-level mass marketing enhancement and the two-level

   sophisticated means enhancement. First, nowhere does the PSR cite any factual support for these

   enhancements. Second, simultaneous application of both enhancements necessarily is duplicative

   of each other, i.e., the enhancements encompass the same conduct and thus constitutes

   impermissible double-counting. United States v. Whyte, 928 F.3d 1317, 1338 (11th Cir. 2019)

   (“Impermissible double counting occurs only when one part of the Guidelines is applied to increase

   a defendant's punishment on account of a kind of harm that has already been fully accounted for

   by application of another part of the Guidelines.”) (Citation and quotation marks omitted). Second,

   the significant enhancement for loss necessarily encompasses such conduct, i.e., an offender

   cannot commit an offense of this magnitude without engaging in mass marketing in a sophisticated

   manner. See Frank O. Bowman, III, Damp Squib: The Disappointing Denouement of the

   Sentencing Commission’s Economic Crime Project (and What They Should Do Now), 27 Fed.

   Sent. R. 270, 280 (2015) (arguing that the sophisticated means enhancement “is particularly

   useless in high loss cases because stealing really big sums inevitably involves methods the courts

   characterize as sophisticated means”).     Finally, there was nothing “especially complex or

   especially intricate” about Mr. Patel’s offense conduct. USSG §2B1.1, comment. (n.9(B)). The

   sophisticated means enhancement applies only where “the defendant’s own intentional conduct”

   was especially complex or intricate. USSG, App. C., Amend. 792 (eff. Nov. 1, 2015). Mr. Patel’s
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   intentional conduct here was not any more sophisticated than any of his co-conspirators or other

   defendants in similar cases.

             Accordingly, the total base offense level should be no higher than 35.

             Further, Mr. Patel also objects to the four-level enhancement for loss to a Government

   health care program pursuant to § 2B1.1(7)(A),(B)(iii). As noted in Amendment 7491, this

   enhancement was the result of a Congressional directive in the Patient Protection Act. Because this

   Amendment was adopted due to a Congressional directive, and not as a result of the Commission’s

   expertise and deliberation, the Court should disregard it by offsetting its application with a four-

   level variance. See, e.g., Kimbrough v. United States, 552 U.S. 85, 109 (2007) (“The crack cocaine

   Guidelines . . . present no occasion for elaborative discussion of this matter because those

   Guidelines do not exemplify the Commission's exercise of its characteristic institutional role.

   In formulating Guidelines ranges for crack cocaine offenses, as we earlier noted, the Commission

   looked to the mandatory minimum sentences set in the 1986 Act and did not take account of

   ‘empirical data and national experience.’”). As with the crack guidelines, so too with this

   enhancement. It was the product of a Congressional directive, not of the Commission’s exercise

   of its institutional role, and thus violates the principle of parsimony set forth at 18 USC 3553(a).

             Additionally, in the context of a healthcare fraud case, such as this, in which loss exceeds

   $20,000,000, the four-level enhancement for Governmental loss in excess of $20,000,000 is also

   duplicative to the harm accounted for in the fraud-loss table. Whyte, at 1338.

             Paragraph 74: The PSR bases the four-level role adjustment on Mr. Patel’s healthcare

   fraud conduct. See PSR at 16, ¶ 57. However, as the primary sentencing guideline is USSG

   §2S1.1(a)(1), per paragraph 71 of the PSR, the role adjustment does not apply. See USSG §2S1.1,

   Comment n.2(C) (“in cases in which subsection [2S1.1](a)(1) applies, application of any Chapter



   1
       See Exhibit C.

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   Three adjustment shall be determined based on the offense covered by this guideline (i.e., the

   laundering of criminally derived funds) and not on the underlying offense from which the

   laundered funds were derived”).

          Paragraph 79: Based on the above objections, Mr. Patel’s Total Offense Level is no

   greater than 33. However, Mr. Patel requests that the PSR note that he is eligible for the pending

   amendment to the Guidelines that creates a new, two-level downward adjustment for zero-point

   offenders at USSG §4C1.1. See U.S. Sentencing Comm’n, Amendments to U.S. Sentencing

   Guidelines at 87, Apr. 27, 2023, (https://www.ussc.gov/sites/default/files/pdf/amendment-

   process/reader-friendly-amendments/202305_RF.pdf). District courts may take into consideration

   pending amendments to the Guidelines. United States v. Miranda- Garcia, 417 Fed. Appx. 895,

   897 (11th Cir. 2011) (variance based on pending amendments to the U.S. Sentencing Guidelines

   is discretionary); United States v. Ruiz- Apolonio, 657 F.3d 907, 917 (9th Cir. 2011) (“A sentencing

   court, of course, has the discretion to grant a variance from the Guidelines after promulgation but

   before adoption of a proposed amendment.”); United States v. McMillan, 863 F.3d 1053, 1058 (8th

   Cir. 2017) (“Although district courts are required to apply the guidelines in effect on the date of

   sentencing, they may consider pending amendments to the guidelines.”); United States v. Lua-

   Guizar, 656 F.3d 563, 567 (7th Cir. 2011) (holding that sentencing court could have considered

   the pending amendment); United States v. Frierson, 308 Fed. Appx. 298, 302-3 (10th Cir. 2007)

   (defendant given downward departure of 15 months in light of pending amendment to Guidelines).

   While that amendment does not take effect until November 1, 2023, the U.S. Sentencing

   Commission may vote on August 24, 2023 to make the amendment retroactive. See U.S.

   Sentencing        Comm’n,         Public       Meeting        –       August        24,       2023,

   https://www.ussc.gov/policymaking/meetings-hearings/public-meeting-august-24-2023).

          As Mr. Patel is a zero-point offender, PSR at 24, ¶ 88, and otherwise meets all the

   criteria for the new adjustment, his Total Offense Level ultimately is no greater than 31.
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   PART C. OFFENDER CHARACTERISTICS

   Physical Condition

           Paragraph 104: Mr. Patel respectfully requests that this paragraph be amended to include

   that he continues to experience severe physical pain and has been advised to undergo further

   surgery. Additionally, Mr. Patel has not received adequate pain relief medications while housed at

   the FDC, nor has he been given access to needed physical therapy or medical/surgical services.

   He respectfully requests medical treatment (including surgical intervention as recommended by

   his treating physicians) and physical therapy to address his spinal condition and horrific chronic

   pain.

           Paragraph 108: Mr. Patel seeks to clarify that he is not at present taking any medication

   because the FDC has not provided his prescribed medication. Prior to being incarcerated he

   received physical therapy and was prescribed pain medication, as reflected in his medical records.

   Mental and Emotional

           Paragraph 109: Mr. Patel has suffered from insomnia, anxiety and severe depression

   necessitating the prescription of Ambien, Xanax and mirtazapine. His severe physical pain

   continues to affect him psychologically and physiologically, and it is respectfully submitted that a

   psychological evaluation and mental health treatment is indicated, along with drug treatment.

           Substance Abuse

           Paragraphs 111, 112 and 113: Mr. Patel clarifies that he ceased using pot and/or any

   other illegal drugs once he was Indicted herein. Prior to his Indictment herein, Mr. Patel used

   marijuana, cocaine and MDA to assist him with his chronic pain and the ensuing. Mr. Patel

   recognizes that he would benefit from drug treatment to teach him better coping mechanisms and

   respectfully requests a recommendation for RDAP and other treatment programs to assist him.

           PART D: SENTENCING OPTIONS

           Restitution
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            Paragraph 144:      Mr. Patel objects to the allegation that he owes $187,369,693 in

   restitution to the Centers for Medicare and Medicaid Services (CMS). As described more fully,

   infra at Footnote 1, the government has not met its burden of proving the loss amount attributable

   to the offense of conviction.

   PART E: FACTORS THAT MAY WARRANT DEPARTURE AND/OR VARIANCE

            Mr. Patel requests that the PSR note in this section that “[t]here may be cases in which the

   offense level determined under this guideline substantially overstates the seriousness of the

   offense. In such cases, a downward departure may be warranted.” USSG §2B1.1, comment.

   (n.21(C)). This is especially the case here inasmuch as there is only a single, non-natural person

   victim of the offense conduct: the Centers for Medicare and Medicaid Services. PSR at 18, ¶ 65.

            Mr. Patel also requests that the PSR indicate the following output for two sentencing

   scenarios, attached as Exhibits C and D, which are derived from the Judicial Sentencing

   Information portal (JSIN), available at https://jsin.ussc.gov/. “The Judiciary Sentencing

   Information (JSIN) platform is an online sentencing data resource specifically developed with the

   needs of judges in mind. The platform provides quick and easy online access to sentencing data

   for similarly situated defendants.” U.S. Sentencing Comm’n, Judiciary Sentencing Information,

   (https://www.ussc.gov/guidelines/judiciary-sentencing-information).

            Currently, the Federal Judicial Center is conducting a two-year study of JSIN in at least 31

   districts including several within the Eleventh Circuit. See U.S. Courts, Judiciary Studies Use of

   Online       Tool      in       Presentence      Reports,      updated      Apr.      28,       2023,

   (https://www.uscourts.gov/news/2023/01/25/judiciary-studies-use-online-tool-presentence-

   reports).

            The scenarios utilize 2B1.1 as the operative Guideline instead of 2S1.1.           First, the

   Guideline calculations are driven by the cross-reference to 2B1.1, so referring to the 2B1.1

   sentencing data is far more indicative of the sentences imposed on those similarly situated to Mr.
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   Patel. Second, the 2S1.1 data often involve wholly distinct cases. For example, many cases

   sentenced under 2S1.1 were cross-referenced from the drug distribution Guideline at 2D1.1 rather

   than 2B1.1. Furthermore, a significant proportion of those sentenced under 2S1.1 received

   mandatory minimums—sometimes as high as life. As Mr. Patel is not facing any mandatory

   minimum penalty, reference to such cases is extremely misleading.

   SCENARIO 1: 2B1.1, TOL 43, CHC I with “Include Sentence Length Data” selected.

          During the last five fiscal years (FY2018-2022), there were 29 defendants whose primary

   guideline was §2B1.1, with a Final Offense Level of 43 and a Criminal History Category of I, after

   excluding defendants who received a §5K1.1 substantial assistance departure. For the 29

   defendants (100%) who received a sentence of imprisonment in whole or in part, the average length

   of imprisonment imposed was 195 month(s) and the median length of imprisonment imposed was

   156 month(s). Additionally, per JSIN, only 16% of these offenders received a “Within Range”

   sentence, and 77% received a “Downward Departure or Variance.”

   The following chart illustrates the distribution of these 29 sentences by select ranges as reported

   in the pertinent U.S. Sentencing Commission’s datafiles. As illustrated, a single individual

   received a sentence of a year-and-a-day or less (12.03 months). Four individuals received a

   sentence greater than a year-and-a-day, but not greater than 60 months. A plurality (8) received a

   sentence greater than 120 months, but not greater than 180 months. See Exhibit C attached.

   SCENARIO 2: 2B1.1, TOL 31, CHC I with “Include Sentence Length Data” selected.

          During the last five fiscal years (FY2018-2022), there were 89 defendants whose primary

   guideline was §2B1.1, with a Final Offense Level of 31 and a Criminal History Category of I, after

   excluding defendants who received a §5K1.1 substantial assistance departure. For the 89

   defendants (100%) who received a sentence of imprisonment in whole or in part, the average length

   of imprisonment imposed was 85 month(s) and the median length of imprisonment imposed was



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   87 month(s). Additionally, per JSIN, only 25% of these offenders received a “Within Range”

   sentence, and 48% received a “Downward Departure or Variance.”

             The following chart illustrates the distribution of these 89 sentences by select ranges as

   reported in the pertinent U.S. Sentencing Commission’s datafiles. As illustrated, four individuals

   received a sentence of a year-and-a-day or less (12.03 months). Twenty-six individuals received

   a sentence greater than a year-and-a-day, but not greater than 60 months. A plurality (47) received

   a sentence greater than 60 months, but not greater than 120 months. See Exhibit D attached.

                                              CONCLUSION

             Defendant Patel respectfully requests that the Presentence Investigation Report be adjusted

   to incorporate the above-referenced objections and averments.

    Dated:          August 11, 2023               Respectfully submitted,

                                                  PIETRAGALLO GORDON ALFANO BOSICK
                                                  & RASPANTI, LLP

                                                  Tama Beth Kudman, Esq.
                                                  Kevin E. Raphael, Esq.
                                                  7108 Fairway Drive, Suite 130
                                                  Palm Beach Gardens, Florida 33418
                                                  Tel: (561) 472-0811; Facsimile: (561) 828-0210
                                                  tbk@pietragallo.com
                                                  ker@pietragallo.com

                                                  By: /s/ Tama Kudman
                                                      Florida Bar No. 637432

                                                 Attorneys for Defendant Minal Patel



                                      CERTIFICATE OF SERVICE

             I hereby certify that a true and correct copy of the forgoing was filed electronically via

   CM/ECF and furnished electronically to all counsel of record on August 11, 2023.


                                                  By: /s/ Tama Kudman


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